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CSD 1489 [12/01/15]
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                   UNITED STATES BANKRUPTCY COURT
                        SOUTHERN DISTRICT OF CALIFORNIA
                   325 West F Street, San Diego, California 92101-6991



In Re                                                                                    Bankruptcy No. 17-01116
Armando Rodriguez and Hilda Rodriguez
                                                                          Debtor,



                                                   MOTION TO REOPEN CASE

        The      Trustee       Debtor ✔ Party in interest, Armando and Hilda Rodriguez                                       ,

hereby moves for the entry of an order reopening the above-referenced case pursuant to Fed. R. Bankr. P. 5010

                 To file the Financial Management Certificate and Official Form 423

                 To file a Certificate of Eligibility for Discharge (Spousal Support Certification – CSD 2120, 2121, 2122)

                 To file an Amendment (CSD 1100) and Notice to Creditor (CSD 1101), if required

         ✔       To file a Motion to Avoid Lien(s)

                 To file an Adversary Proceeding, except for the following:

                      •   §523 adversary proceeding to determine dischargeability of debt
                      •   File an adversary proceeding or motion to remedy an alleged violation of the discharge

                 To file a Motion to Vacate Dismissal

                 For other purpose as stated below (specify):




        Declarations as required by LBR 9013-7(a)(1) accompany this motion.

DATED: 01/07/2021

                                                                         /s/ John F. Lenderman
                                                                                      [Attorney for] Moving Party

                Reminder: The below actions do not require the reopening of the Bankruptcy case.
                                          • Motion to Redact/Restrict Public Access.
                                           • Motion for Release of unclaimed funds.
                                        • Motions for reconsideration of judicial rulings.
         •    Any effort to enforce a judgment in an adversary proceeding (e.g., Writs of Execution, Judgment Debtor
                                                        Examinations, etc.).


CSD 1489
